           Case 2:15-cr-00189-KJM Document 144 Filed 03/29/19 Page 1 of 2




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6
7                        IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,             )   CASE NO. 15-189 GEB
                                            )
11                        Plaintiff,        )   STIPULATION AND ORDER
                                            )   CONTINUING STATUS CONFERENCE
12    v.                                    )
                                            )   Date:   April 26, 2019
13    JEREMY WARREN,                        )   Time:   9:00 a.m.
                                                Judge: Hon. Garland E.
14                        Defendant.        )   Burrell, Jr.
                                            )
15                                          )
                                            )
16                                          )
                                            )
17                                          )
                                            )
18
19
20          Defendant Jeremy Warren, his undersigned counsel and
21   plaintiff, United States of America, hereby stipulate through          their
22   respective attorneys to continue the status conference previously          set
23   for March 29, 2019 to April 26, 2019 and that date is        available
24   with the Court.
25           The parties are engaged in negotiations that might result in
26
     A resolution of this matter, obviating the need for a trial. The time is

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         Case 2:15-cr-00189-KJM Document 144 Filed 03/29/19 Page 2 of 2
          necessary to complete research and investigation.

     The parties further agree that the above reason constitutes good cause to

     exclude the time until the April 26, 2019 status conference. Time should

      be excluded pursuant to the
1     Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), for the
2     reasons stated above.
5
                                     Respectfully submitted
6
      Dated: March 28, 2019           /s/ Shari Rusk
 7                                     Attorney for Defendant
                                      Jeremy Warren
 8
 9
10                                  /s/ Michael Beckwith
                                      Michael Beckwith
11                                   Assistant United States Attorney
12
13
14                                      ORDER
15         It is so ordered.
16
17    Dated:March 29, 2019
18
                                      Hon. Garland E. Burrell, Jr.
19                                    United States District Court Judge
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